      Case 2:21-cr-00075-MCS Document 7 Filed 02/23/21 Page 1 of 5 Page  ID FILED
                                                                               #:30
                                                                     CLERK, U.S. DISTRICT COURT


                                                                                 02/23/2021

                                                                                       DM
                                                                              CENTRAL DISTRICT OF CALIFORNIA

1    TRACY L. WILKISON                                                          BY: ___________________ DEPUTY

     Acting United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     MATTHEW C. CHAN (Cal. Bar No. 310411)
4    Special Assistant United States Attorney
     General Crimes Section
5         1200 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-7413
7         Facsimile: (213) 894-0141
          E-mail:    Matthew.Chan@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                              UNITED STATES DISTRICT COURT

11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                     CR 2:21-cr-00075-MCS                                          2
13               Plaintiff,                        GOVERNMENT’S NOTICE OF REQUEST FOR
                                                   DETENTION
14                     v.

15   YI CHEN,
       aka “Brian Chen,”
16
                 Defendant.
17

18
          Plaintiff, United States of America, by and through its counsel
19
     of record, hereby requests detention of defendant and gives notice of
20
     the following material factors:
21
          1.     Temporary 10-day Detention Requested (§ 3142(d)) on the
22
                 following grounds:
23
               a.     present offense committed while defendant was on release
24
                      pending (felony trial),
25
               b.     defendant is an alien not lawfully admitted for
26
                      permanent residence; and
27

28
     Case 2:21-cr-00075-MCS Document 7 Filed 02/23/21 Page 2 of 5 Page ID #:31



1            c.    defendant may flee; or

2            d.    pose a danger to another or the community.

3       2.    Pretrial Detention Requested (§ 3142(e)) because no

4             condition or combination of conditions will reasonably

5             assure:

6             a.    the appearance of the defendant as required;

7             b.    safety of any other person and the community.

8       3.    Detention Requested Pending Supervised Release/Probation

9             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

10            § 3143(a)):

11            a.    defendant cannot establish by clear and convincing

12                  evidence that he/she will not pose a danger to any

13                  other person or to the community;

14            b.    defendant cannot establish by clear and convincing

15                  evidence that he/she will not flee.

16      4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

17            § 3142(e)):

18            a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)

19                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or

20                  greater maximum penalty (presumption of danger to

21                  community and flight risk);

22            b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

23                  2332b(g)(5)(B) with 10-year or greater maximum penalty

24                  (presumption of danger to community and flight risk);

25            c.    offense involving a minor victim under 18 U.S.C.

26                  §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

27                  2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

28

                                         2
     Case 2:21-cr-00075-MCS Document 7 Filed 02/23/21 Page 3 of 5 Page ID #:32



1                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

2                   to community and flight risk);

3             d.    defendant currently charged with an offense described

4                   in paragraph 5a - 5e below, AND defendant was

5                   previously convicted of an offense described in

6                   paragraph 5a - 5e below (whether Federal or

7                   State/local), AND that previous offense was committed

8                   while defendant was on release pending trial, AND the

9                   current offense was committed within five years of

10                  conviction or release from prison on the above-

11                  described previous conviction (presumption of danger to

12                  community).

13      5.    Government Is Entitled to Detention Hearing Under § 3142(f)

14            If the Case Involves:

15            a.    a crime of violence (as defined in 18 U.S.C.

16                  § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or

17                  Federal crime of terrorism (as defined in 18 U.S.C.

18                  § 2332b(g)(5)(B)) for which maximum sentence is 10

19                  years’ imprisonment or more;

20            b.    an offense for which maximum sentence is life

21                  imprisonment or death;

22            c.    Title 21 or MDLEA offense for which maximum sentence is

23                  10 years’ imprisonment or more;

24            d.    any felony if defendant has two or more convictions for

25                  a crime set forth in a-c above or for an offense under

26                  state or local law that would qualify under a, b, or c

27

28

                                         3
      Case 2:21-cr-00075-MCS Document 7 Filed 02/23/21 Page 4 of 5 Page ID #:33



1                    if federal jurisdiction were present, or a combination

2                    or such offenses;

3              e.    any felony not otherwise a crime of violence that

4                    involves a minor victim or the possession or use of a

5                    firearm or destructive device (as defined in 18 U.S.C.

6                    § 921), or any other dangerous weapon, or involves a

7                    failure to register under 18 U.S.C. § 2250;

8              f.    serious risk defendant will flee;

9              g.    serious risk defendant will (obstruct or attempt to

10                   obstruct justice) or (threaten, injure, or intimidate

11                   prospective witness or juror, or attempt to do so).

12        6.   Government requests continuance of _____ days for detention

13             hearing under § 3142(f) and based upon the following

14             reason(s):

15

16

17

18

19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                          4
     Case 2:21-cr-00075-MCS Document 7 Filed 02/23/21 Page 5 of 5 Page ID #:34



1       7.    Good cause for continuance in excess of three days exists in

2             that:

3

4

5

6

7

8    Dated: February 22, 2021            Respectfully submitted,
9                                        TRACY L. WILKISON
                                         Acting United States Attorney
10
                                         BRANDON D. FOX
11                                       Assistant United States Attorney
                                         Chief, Criminal Division
12

13
                                         MATTHEW C. CHAN
14                                       Special Assistant United States
                                         Attorney
15
                                         Attorneys for Plaintiff
16                                       UNITED STATES OF AMERICA
17

18

19

20

21

22

23

24

25

26

27

28

                                         5
